                                                                                   Case 04-62302                Doc 1           Filed 11/01/04 Entered 11/01/04 14:24:01                                  Desc Main
                                                                     (Official Form 1) (12/03)                                    Document     Page 1 of 41
                                                                     FORM B1
                                                                                                          United States Bankruptcy Court
                                                                                                                                                                                                         Voluntary Petition
                                                                                                             Eastern District of Texas
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                           Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      MARONEY, JONATHAN PAUL                                                               MARONEY, TONYA
                                                                      All Other Names used by the Debtor in the last 6 years                               All Other Names used by the Joint Debtor in the last 6 years
                                                                      (include married, maiden, and trade names):                                          (include married, maiden, and trade names):




                                                                      Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D.                     Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D.
                                                                      No. (if more than one, state all): 5644                                              No. (if more than one, state all): 5059
                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                     Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      9323 Londonderry Dr                                                                  9323 Londonderry Dr
                                                                      Tyler, TX 75703-5332                                                                 Tyler, TX 75703-5332


                                                                      County of Residence or of the                                                        County of Residence or of the
                                                                      Principal Place of Business: Smith                                                   Principal Place of Business: Smith
                                                                      Mailing Address of Debtor (if different from street address):                        Mailing Address of Joint Debtor (if different from street address):
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                                                                      Location of Principal Assets of Business Debtor
                                                                      (if different from street address above):

                                                                                                    Information Regarding the Debtor (Check the Applicable Boxes)
                                                                      Venue (Check any applicable box)
                                                                      ü  Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                         preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                         There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.

                                                                                    Type of Debtor (Check all boxes that apply)                                   Chapter or Section of Bankruptcy Code Under Which
                                                                      ü    Individual(s)                     Railroad                                                       the Petition is Filed (Check one box)
                                                                           Corporation                       Stockbroker                                        Chapter 7           Chapter 11           ü Chapter 13
                                                                           Partnership                       Commodity Broker                                   Chapter 9           Chapter 12
                                                                           Other                             Clearing Bank                                      Sec. 304 - Case ancillary to foreign proceeding

                                                                                          Nature of Debts (Check one box)
                                                                      ü Consumer/Non-Business
                                                                                                                                                                                   Filing Fee (Check one box)
                                                                                                          Business
                                                                                                                                                           ü    Full Filing Fee attached
                                                                              Chapter 11 Small Business (Check all boxes that apply)                            Filing Fee to be paid in installments (applicable to individuals only)
                                                                                                                                                                Must attach signed application for the court’s consideration
                                                                           Debtor is a small business as defined in 11 U.S.C. § 101                             certifying that the debtor is unable to pay fee except in installments.
                                                                           Debtor is and elects to be considered a small business under                         Rule 1006(b). See Official Form No. 3.
                                                                           11 U.S.C. § 1121(e) (Optional)
                                                                      Statistical/Administrative Information (Estimates only)                                                                    THIS SPACE IS FOR COURT USE ONLY

                                                                          Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                      ü   Debtor estimates that, after any exempt property is excluded and administrative expenses
                                                                          paid, there will be no funds available for distribution to unsecured creditors.
                                                                                                                1-15          16-49      50-99      100-199     200-999      1000-over
                                                                      Estimated Number of Creditors
                                                                                                                                          ü
                                                                      Estimated Assets
                                                                         $0 to      $50,001 to    $100,001 to   $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to    More than
                                                                        $50,000      $100,000      $500,000      $1 million     $10 million    $50 million   $100 million    $100 million
                                                                                                      ü
                                                                      Estimated Debts
                                                                         $0 to      $50,001 to    $100,001 to   $500,001 to    $1,000,001 to $10,000,001 to $50,000,001 to    More than
                                                                        $50,000      $100,000      $500,000      $1 million     $10 million    $50 million   $100 million    $100 million
                                                                                                      ü
                                                                     VOLUNTARY PETITION
                                                                                    Case 04-62302                    Doc 1     Filed 11/01/04 Entered 11/01/04 14:24:01                                 Desc Main
                                                                     (Official Form 1) (12/03)                                   Document     Page 2 of 41                                                      FORM B1, Page 2
                                                                     Voluntary Petition                                                            Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                        MARONEY, JONATHAN PAUL & MARONEY, TONYA
                                                                                                  Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
                                                                      Location                                                                     Case Number:                               Date Filed:
                                                                      Where Filed: None
                                                                          Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                              Case Number:                               Date Filed:
                                                                      None
                                                                      District:                                                                    Relationship:                              Judge:


                                                                                                                                         Signatures
                                                                                  Signature(s) of Debtor(s) (Individual/Joint)                                                           Exhibit A
                                                                      I declare under penalty of perjury that the information provided in this          (To be completed if debtor is required to file periodic reports
                                                                      petition is true and correct.                                                      (e.g., forms 10K and 10Q) with the Securities and Exchange
                                                                      [If petitioner is an individual whose debts are primarily consumer                Commission pursuant to Section 13 or 15(d) of the Securities
                                                                      debts and has chosen to file under Chapter 7] I am aware that I may              Exchange Act of 1934 and is requesting relief under chapter 11)
                                                                      proceed under chapter 7, 11, 12 or 13 of title 11, United State Code,            Exhibit A is attached and made a part of this petition.
                                                                      understand the relief available under each such chapter, and choose to
                                                                      proceed under chapter 7.                                                                                           Exhibit B
                                                                      I request relief in accordance with the chapter of title 11, United States                   (To be completed if debtor is an individual
                                                                      Code, specified in this petition.                                                            whose debts are primarily consumer debts)
                                                                                                                                                   I, the attorney for the petitioner named in the foregoing petition,
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                                                                      X   /s/ JONATHAN PAUL MARONEY                                                declare that I have informed the petitioner that [he or she] may proceed
                                                                          Signature of Debtor  JONATHAN PAUL MARONEY                               under chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                                                                                                   explained the relief available under each such chapter.
                                                                      X   /s/ TONYA MARONEY
                                                                          Signature of Joint Debtor                           TONYA MARONEY
                                                                                                                                                   X    /s/ Richard H. Hughes                                        11/01/04
                                                                          Telephone Number (If not represented by attorney)                             Signature of Attorney for Debtor(s)                               Date

                                                                          November 1, 2004                                                                                               Exhibit C
                                                                          Date
                                                                                                                                                   Does the debtor own or have possession of any property that poses or
                                                                                                  Signature of Attorney                            is alleged to pose a threat of imminent and identifiable harm to public
                                                                                                                                                   health or safety?
                                                                      X   /s/ Richard H. Hughes                                                        Yes, and Exhibit C is attached and made a part of this petition.
                                                                          Signature of Attorney for Debtor(s)
                                                                                                                                                   üNo
                                                                          Richard H. Hughes 10228050
                                                                          Printed Name of Attorney for Debtor(s)                                               Signature of Non-Attorney Petition Preparer
                                                                          Law Office Of Richard H. Hughes                                          I certify that I am a bankruptcy petition preparer as defined in 11
                                                                          Firm Name                                                                U.S.C. § 110, that I prepared this document for compensation, and that
                                                                                                                                                   I have provided the debtor with a copy of this document.
                                                                          3535-C South Broadway
                                                                          Address
                                                                          Tyler, TX 75701                                                            Printed Name of Bankruptcy Petition Preparer

                                                                          (903) 534-5922                                                             Social Security Number (Required by 11 U.S.C. § 110(c).)
                                                                          Telephone Number
                                                                          November 1, 2004                                                           Address
                                                                          Date

                                                                                 Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this       Names and Social Security numbers of all other individuals who
                                                                      petition is true and correct, and that I have been authorized to file this     prepared or assisted in preparing this document:
                                                                      petition on behalf of the debtor.
                                                                      The debtor requests relief in accordance with the chapter of title 11,         If more than one person prepared this document, attach additional
                                                                      United States Code, specified in this petition.                                sheets conforming to the appropriate official form for each person.

                                                                      X                                                                              X
                                                                          Signature of Authorized Individual
                                                                                                                                                          Signature of Bankruptcy Petition Preparer

                                                                          Printed Name of Authorized Individual
                                                                                                                                                          Date

                                                                          Title of Authorized Individual                                           A bankruptcy petition preparer’s failure to comply with the provisions
                                                                                                                                                   of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                          Date                                                                     in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                     VOLUNTARY PETITION
                                                                                    Case 04-62302                  Doc 1          Filed 11/01/04 Entered 11/01/04 14:24:01                                       Desc Main
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                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                                           Case No.
                                                                                                                                Debtor(s)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-tenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor's own benefit. If the debtor is
                                                                     married, state whether husband, wife, or both own the property by placing an "H" for Husband, "W" for Wife, "J" for Joint, or "C" for Community in the column labeled
                                                                     "HWJC." If the debtor holds no interest in real property, write "None" under "Description and Location of Property".
                                                                        Do not include interests in executory contracts and unexpired leases on the schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.
                                                                        If an entity claims to have a lien or hold a security interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write "None" in the column labeled "Amount of Secured Claim".
                                                                        If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                                                                                                                    CURRENT MARKET
                                                                                                                                                                                             H     VALUE OF DEBTOR'S
                                                                                                                                                                   NATURE OF DEBTOR'S        W   INTEREST IN PROPERTY       AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY       J    WITHOUT DEDUCTING              CLAIM
                                                                                                                                                                                             C   ANY SECURED CLAIM OR
                                                                                                                                                                                                      EXEMPTION

                                                                     Homestead on less than 1 acre located at 9323 Londonderry                                 Fee Simple                    J            130,000.00                119,560.47
                                                                     Dr., Tyler, Texas
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                                                                                                                                                                                     TOTAL                130,000.00
                                                                                                                                                                                                 (Report also on Summary of Schedules)
                                                                     SCHEDULE A - REAL PROPERTY
                                                                                     Case 04-62302                    Doc 1       Filed 11/01/04 Entered 11/01/04 14:24:01                                        Desc Main
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                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                                           Case No.
                                                                                                                                Debtor(s)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an "X" in the
                                                                     appropriate position in the column labeled "None". If additional space is needed in any category, attached a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an "H" for Husband, "W" for Wife, "J" for Joint,
                                                                     or "C" for Community in the column labeled "HWJC." If the debtor is an individual or a joint petition is filed, state the amount of any exemptions only in Schedule C -
                                                                     Property Claimed as Exempt.
                                                                        Do not include interests in executory contracts and unexpired leases on the schedule. List them in Schedule G - Executory Contracts and Unexpired Leased.
                                                                        If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property".

                                                                                                                                                                                                                               CURRENT MARKET
                                                                                                                       N                                                                                               H      VALUE OF DEBTOR'S
                                                                                                                       O                                                                                               W    INTEREST IN PROPERTY
                                                                                    TYPE OF PROPERTY                                                DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                               J     WITHOUT DEDUCTING
                                                                                                                       E                                                                                               C    ANY SECURED CLAIM OR
                                                                                                                                                                                                                                 EXEMPTION

                                                                        1. Cash on hand.                               X
                                                                        2. Checking, savings or other financial        X
                                                                           accounts, certificates of deposit, or
                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
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                                                                           others.
                                                                        4. Household goods and furnishings,                (1) Bedroom Set                                                                             J                   150.00
                                                                           include audio, video, and computer              (1) Chair                                                                                   J                    50.00
                                                                           equipment.
                                                                                                                           (1) Dining Room Set                                                                         J                   100.00
                                                                                                                           (1) Refrigerator                                                                            J                   100.00
                                                                                                                           (1) Stove                                                                                   J                    50.00
                                                                                                                           (1) Washer/Dryer                                                                            J                   100.00
                                                                                                                           (2) Computers                                                                               J                   300.00
                                                                                                                           (2) Couches                                                                                 J                    50.00
                                                                                                                           (2) Lamps                                                                                   J                    25.00
                                                                                                                           (2) Televisions                                                                             J                   150.00
                                                                        5. Books, pictures and other art objects,          Books, Pictures, Collectibles, etc.                                                         J                   200.00
                                                                           antiques, stamp, coin, record, tape,             Property of the Petitioner
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Wearing Apparel                                                                             J                   250.00
                                                                                                                            Property of the Petitioner
                                                                        7. Furs and jewelry.                               Furs & Jewelry                                                                              J                   250.00
                                                                                                                            Property of the Petitioner
                                                                        8. Firearms and sports, photographic,              Sports, Photographic Equip., etc.                                                           J                   150.00
                                                                           and other hobby equipment.                       Property of the Petitioner
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in IRA, ERISA, Keogh, or           X
                                                                          other pension or profit sharing plans.
                                                                          Itemize.
                                                                      12. Stock and interests in incorporated          X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      13. Interests in partnerships or joint           X
                                                                          ventures. Itemize.




                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                    Case 04-62302                    Doc 1    Filed 11/01/04 Entered 11/01/04 14:24:01                             Desc Main
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                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                                 Case No.
                                                                                                                             Debtor(s)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)

                                                                                                                                                                                                               CURRENT MARKET
                                                                                                                      N                                                                                 H     VALUE OF DEBTOR'S
                                                                                                                      O                                                                                 W   INTEREST IN PROPERTY
                                                                                   TYPE OF PROPERTY                                         DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                      N                                                                                 J    WITHOUT DEDUCTING
                                                                                                                      E                                                                                 C   ANY SECURED CLAIM OR
                                                                                                                                                                                                                 EXEMPTION

                                                                      14. Government and corporate bonds and          X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      15. Accounts receivable.                        X
                                                                      16. Alimony, maintenance, support, and          X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      17. Other liquidated debts owing debtor         X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      18. Equitable or future interest, life          X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
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                                                                          Schedule of Real Property.
                                                                      19. Contingent and noncontingent                X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      20. Other contingent and unliquidated           X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      21. Patents, copyrights, and other              X
                                                                          intellectual property. Give particulars.
                                                                      22. Licenses, franchises, and other             X
                                                                          general intangibles. Give particulars.
                                                                      23. Automobiles, trucks, trailers, and              1992 Ford Truck                                                               J               2,300.00
                                                                          other vehicles and accessories.                 1998 Ford Mustang                                                             J               4,500.00
                                                                      24. Boats, motors, and accessories.             X
                                                                      25. Aircraft and accessories.                   X
                                                                      26. Office equipment, furnishings, and          X
                                                                          supplies.
                                                                      27. Machinery, fixtures, equipment, and         X
                                                                          supplies used in business.
                                                                      28. Inventory.                                  X
                                                                      29. Animals.                                    X
                                                                      30. Crops - growing or harvested. Give          X
                                                                          particulars.
                                                                      31. Farming equipment and implements.           X
                                                                      32. Farm supplies, chemicals, and feed.         X
                                                                      33. Other personal property of any kind         X
                                                                          not already listed. Itemize.




                                                                                                                                                                                                 TOTAL                  8,725.00
                                                                                                                                                                             (Include amounts from any continuation sheets attached.
                                                                              0 continuation sheets attached                                                                            Report total also on Summary of Schedules.)
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                                       Case 04-62302               Doc 1         Filed 11/01/04 Entered 11/01/04 14:24:01                                      Desc Main
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                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                                        Case No.
                                                                                                                               Debtor(s)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:

                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(1): Exemptions provided in 11 U.S.C. § 522(d). NOTE: These exemptions are available only in certain states.

                                                                       ü11 U.S.C. § 522(b)(2):     Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile has been located for 180
                                                                                                   days immediately preceding the filing of the petition, or for a longer portion of the 180-day period than in any other place, and the debtor's
                                                                                                   interest as a tenant by the entirety or joint tenant to the extent the interest is exempt from process under applicable nonbankruptcy law.

                                                                                                                                                                                                                           CURRENT MARKET
                                                                                                                                                                                                 VALUE OF CLAIMED         VALUE OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                                    EXEMPTION             WITHOUT DEDUCTING
                                                                                                                                                                                                                             EXEMPTIONS

                                                                     SCHEDULE A - REAL PROPERTY
                                                                     Homestead on less than 1 acre located at                     Art. 16, §§ 50,51 Code §§ 41.001, 41.002                              130,000.00               130,000.00
                                                                     9323 Londonderry Dr., Tyler, Texas
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     (1) Bedroom Set                                              Property Code §§ 41.001(a), 42.002(a)(1)                                    150.00                   150.00
                                                                     (1) Chair                                                    Property Code §§ 41.001(a), 42.002(a)(1)                                     50.00                     50.00
                                                                     (1) Dining Room Set                                          Property Code §§ 41.001(a), 42.002(a)(1)                                    100.00                   100.00
                                                                     (1) Refrigerator                                             Property Code §§ 41.001(a), 42.002(a)(1)                                    100.00                   100.00
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                                                                     (1) Stove                                                    Property Code §§ 41.001(a), 42.002(a)(1)                                     50.00                     50.00
                                                                     (1) Washer/Dryer                                             Property Code §§ 41.001(a), 42.002(a)(1)                                    100.00                   100.00
                                                                     (2) Computers                                                Property Code §§ 41.001(a), 42.002(a)(1)                                    300.00                   300.00
                                                                     (2) Couches                                                  Property Code §§ 41.001(a), 42.002(a)(1)                                     50.00                     50.00
                                                                     (2) Lamps                                                    Property Code §§ 41.001(a), 42.002(a)(1)                                     25.00                     25.00
                                                                     (2) Televisions                                              Property Code §§ 41.001(a), 42.002(a)(1)                                    150.00                   150.00
                                                                     Books, Pictures, Collectibles, etc.                          Property Code §§ 41.001(a), 42.002(a)(1)                                    200.00                   200.00
                                                                      Property of the Petitioner
                                                                     Wearing Apparel                                              Property Code §§ 42.001(a), 42.002(a)(5)                                    250.00                   250.00
                                                                      Property of the Petitioner
                                                                     Furs & Jewelry                                               Property Code §§ 42.001(a), 42.002(a)(6)                                    250.00                   250.00
                                                                      Property of the Petitioner
                                                                     Sports, Photographic Equip., etc.                            Property Code §§ 42.001(a), 42.002(a)(8)                                    150.00                   150.00
                                                                      Property of the Petitioner
                                                                     1992 Ford Truck                                              Property Code §§ 42.001(a), 42.002(a)(9)                                 2,300.00                  2,300.00
                                                                     1998 Ford Mustang                                            Property Code §§ 42.001(a), 42.002(a)(9)                                 4,500.00                  4,500.00




                                                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                    Case 04-62302                  Doc 1         Filed 11/01/04 Entered 11/01/04 14:24:01                                        Desc Main
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                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                                          Case No.
                                                                                                                                Debtor(s)

                                                                                                           SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests. List creditors in alphabetical order to the extent practicable. If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                                                                                                 U
                                                                                                                                                                                                             C   N          AMOUNT OF CLAIM
                                                                                                                                    C                                                                        O   L    D    WITHOUT DEDUCTING
                                                                                                                                    O                                                                        N   I    I   VALUE OF COLLATERAL
                                                                                                                                    D   H                                                                    T   Q    S
                                                                                 CREDITOR'S NAME, MAILING ADDRESS                                           DATE CLAIM WAS INCURRED,
                                                                                                                                    E   W                                                                    I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                           NATURE OF LIEN, AND DESCRIPTION AND MARKET VALUE OF
                                                                                                                                    B   J                                                                    N   I    U
                                                                                        (See instructions above.)                                            PROPERTY SUBJECT TO LIEN
                                                                                                                                    T   C                                                                    G   D    T
                                                                                                                                    O                                                                        E   A    E   UNSECURED PORTION, IF
                                                                                                                                    R                                                                        N   T    D          ANY
                                                                                                                                                                                                             T   E
                                                                                                                                                                                                                 D
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                                                                     Account No. 0240004159                                             J Homestead on less that 1 acre located at
                                                                     Centex Home Equity                                                   9323 Londonderry Dr., Tyler, Texas
                                                                     350 Highland Dr.                                                                                                                                              119,158.47
                                                                     Lewisville, TX 75067

                                                                                                                                            Value $           130,000.00
                                                                     Account No. 1-80575-0007-00-008000                                 J Homestead on less that 1 acre located at
                                                                     Kay Smith                                                            9323 Londonderry Dr., Tyler, Texas
                                                                     Smith County Tax Office                                                                                                                                             402.00
                                                                     PO Box 2011
                                                                     Tyler, TX 75710-2011
                                                                                                                                            Value $           130,000.00
                                                                     Account No.                                                        J 1992 Ford Truck
                                                                     Madaline Stanport
                                                                     PO Box 749                                                                                                                                                       2,200.00
                                                                     Lexington, TX 78947-0749

                                                                                                                                            Value $               2,300.00
                                                                     Account No.




                                                                                                                                            Value $

                                                                     Account No.




                                                                                                                                            Value $
                                                                                                                                                                                                              Subtotal
                                                                              0 Continuation Sheets attached                                                                                      (Total of this page)             121,760.47

                                                                                                                                                         (Complete only on last sheet of Schedule D) TOTAL                         121,760.47
                                                                                                                                                                                                     (Report total also on Summary of Schedules)




                                                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                     Case 04-62302                  Doc 1          Filed 11/01/04 Entered 11/01/04 14:24:01                                         Desc Main
                                                                                                                                     Document     Page 8 of 41
                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                                             Case No.
                                                                                                                                 Debtor(s)

                                                                                               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. The complete account number
                                                                     of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entiry on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Report the total of claims listed on each sheet in the box labeled “Subtotal” on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS
                                                                     (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)

                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the
                                                                          earlier of the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2)

                                                                          Wages, salaries, and commissions
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                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
                                                                          qualifying independent sales representatives up to $4,925* per person earned within 90 days immediately preceding the filing of the
                                                                          original petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(3).

                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition,
                                                                          or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to a maximum of $4,925* per farmer or fisherman, against the debtor, as provided in 11
                                                                          U.S.C. § 507(a)(5).

                                                                          Deposits by individuals
                                                                          Claims of individuals up to a maximum of $2,225* for deposits for the purchase, lease, or rental of property or services for personal,
                                                                          family, or household use, that were not delivered or provided. 11 U.S.C. § 507(a)(6)

                                                                          Alimony, Maintenance, or Support
                                                                          Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C.
                                                                          § 507(a)(7).

                                                                     ü Taxes and Other Certain Debts Owed to Governmental Units
                                                                          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board
                                                                          of Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository
                                                                          institution. 11 U.S.C. § 507(a)(9).

                                                                          * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment.




                                                                               1 Continuation Sheets attached




                                                                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                   Case 04-62302             Doc 1       Filed 11/01/04 Entered 11/01/04 14:24:01                              Desc Main
                                                                                                                           Document     Page 9 of 41
                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                             Case No.
                                                                                                                       Debtor(s)

                                                                                           SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                (Continuation Sheet)


                                                                                                        Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                        (Type of Priority)

                                                                                                                                                                                               U
                                                                                                                                                                                           C   N
                                                                                                                           C                                                               O   L    D      TOTAL AMOUNT
                                                                                                                           O                                                               N   I    I        OF CLAIM
                                                                                                                           D    H                                                          T   Q    S
                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                           E    W                  DATE CLAIM WAS INCURRED                 I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER
                                                                                                                           B    J                AND CONSIDERATION FOR CLAIM               N   I    U
                                                                                           (See instructions.)
                                                                                                                           T    C                                                          G   D    T
                                                                                                                           O                                                               E   A    E     AMOUNT ENTITLED
                                                                                                                           R                                                               N   T    D       TO PRIORITY
                                                                                                                                                                                           T   E
                                                                                                                                                                                               D

                                                                     Account No.                                                J 940 & 941's
                                                                     Internal Revenue Service
                                                                     Special Procedures Branch                                                                                                                     6,500.00
                                                                     1100 Commerce Street, MC5020DAL
                                                                     Dallas, TX 75242
                                                                                                                                                                                                                   6,500.00
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                                                                     Account No. 09-153401-0                                    J Unemployment Tax
                                                                     Texas Workforce Commission
                                                                     PO Box 149080                                                                                                                                   760.99
                                                                     Austin, TX 78714-9080

                                                                                                                                                                                                                     760.99
                                                                     Account No.




                                                                     Account No.




                                                                     Account No.




                                                                     Account No.




                                                                                                                                                                                              Subtotal
                                                                     Sheet         1 of          1 Continuation Sheets attached to Schedule E                                     (Total of this page)             7,260.99

                                                                                                                                              (Complete only on last sheet of Schedule E) TOTAL                    7,260.99
                                                                                                                                                                                    (Report total also on Summary of Schedules)



                                                                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                     Case 04-62302                   Doc 1          Filed 11/01/04 Entered 11/01/04 14:24:01                                         Desc Main
                                                                                                                                     Document     Page 10 of 41
                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                                              Case No.
                                                                                                                                  Debtor(s)

                                                                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code and last four digits of any account number of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation
                                                                     sheet provided.
                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C,” respectively, in the column labeled “HWJC.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                                                                                      U
                                                                                                                                                                                                                 C    N
                                                                                                                                      C                                                                          O    L    D
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                                                                                                                                      D    H                                                                     T    Q    S
                                                                                 CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                                      E    W    DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.             I    U    P
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                                              AMOUNT OF CLAIM
                                                                                                                                      B    J            IF CLAIM IS SUBJECT TO SETOFF, SO STATE.                 N    I    U
                                                                                         (See instructions above.)
                                                                                                                                      T    C                                                                     G    D    T
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                                                                     Account No. 516484714                                                 J Extension of Credit
                                                                     Allied Interstate, Inc.
                                                                     5062 N 19th Ave Ste 102
                                                                     Phoenix, AZ 85015-3225

                                                                                                                                                                                                                                               402.05
                                                                     Account No. 1074416                                                   J Extension of Credit
                                                                     American Professional Credit
                                                                     PO Box 70127
                                                                     Marietta, GA 30007-0127

                                                                                                                                                                                                                                            1,277.40
                                                                     Account No. 410208474                                                 J Extension of Credit
                                                                     Americredit
                                                                     4001 Embarcadero Dr
                                                                     Arlington, TX 76014-4106

                                                                                                                                                                                                                                            8,265.54
                                                                     Account No.                                                           J Extension of Credit
                                                                     Ann Mah
                                                                     3351 SE Meadowview Dr
                                                                     Topeka, KS 66605-3022

                                                                                                                                                                                                                                            3,500.00
                                                                     Account No. 48971                                                     J Extension of Credit
                                                                     Azalea Orthopedic Sports Medicine
                                                                     1905 S Donnybrook Ave
                                                                     Tyler, TX 75701-4236

                                                                                                                                                                                                                                                22.44
                                                                                                                                                                                                                  Subtotal
                                                                               9 Continuation Sheets attached                                                                                         (Total of this page)                13,467.43

                                                                                                                                                            (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                                         (Report total also on Summary of Schedules)




                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 04-62302             Doc 1      Filed 11/01/04 Entered 11/01/04 14:24:01                              Desc Main
                                                                                                                         Document     Page 11 of 41
                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                         Case No.
                                                                                                                       Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)
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                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W   DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                      AMOUNT OF CLAIM
                                                                                                                          B    J           IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                           (See instructions.)
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                                                                     Account No. 80021                                         J Extension of Credit
                                                                     Banto Book Group
                                                                     PO Box 60
                                                                     Menasha, WI 54952-0060

                                                                                                                                                                                                                  4,040.09
                                                                     Account No.                                               J Extension of Credit
                                                                     Barbara Lilly
                                                                     6927 W Mississippi Ave
                                                                     Portland, OR 97217
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                                                                                                                                                                                                                    336.50
                                                                     Account No. #4194                                         J Extension of Credit
                                                                     Bennett & Deloney
                                                                     PO Box 190
                                                                     Midvale, UT 84047-0190

                                                                                                                                                                                                                    152.88
                                                                     Account No. books                                         J Extension of Credit
                                                                     Betsy Hass
                                                                     5738 Cedros Ave
                                                                     Van Nuys, CA 91411-3343

                                                                                                                                                                                                                  1,552.50
                                                                     Account No. UX734914                                      J Extension of Credit
                                                                     Bonded Collections
                                                                     PO Box 36155
                                                                     Cincinnati, OH 45236-0155

                                                                                                                                                                                                                  5,323.05
                                                                     Account No. 482271-4419                                   J Extension of Credit
                                                                     C.C.S.
                                                                     PO Box 5472
                                                                     Mount Laurel, NJ 08054-5472

                                                                                                                                                                                                                      57.61
                                                                     Account No. 267203831883                                  J Extension of Credit
                                                                     Card Service International
                                                                     PO Box 5180
                                                                     Simi Valley, CA 93062-5180

                                                                                                                                                                                                                  3,465.00
                                                                                                                                                                                            Subtotal
                                                                     Sheet         1 of          9 Continuation Sheets attached to Schedule F                                   (Total of this page)             14,927.63

                                                                                                                                             (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                   (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 04-62302             Doc 1      Filed 11/01/04 Entered 11/01/04 14:24:01                              Desc Main
                                                                                                                         Document     Page 12 of 41
                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                         Case No.
                                                                                                                       Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)
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                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W   DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                      AMOUNT OF CLAIM
                                                                                                                          B    J           IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
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                                                                     Account No. 00980217994                                   J Extension of Credit
                                                                     Cox Communications
                                                                     PO Box 139004
                                                                     Tyler, TX 75713-9004

                                                                                                                                                                                                                    122.04
                                                                     Account No. 07534827-01N                                  J Extension of Credit
                                                                     CRA
                                                                     PO Box 67555
                                                                     Harrisburg, PA 17106-7555
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                                                                                                                                                                                                                      40.00
                                                                     Account No.                                               J Extension of Credit
                                                                     Crystal Clear Sound
                                                                     7902 Don Drive
                                                                     Dallas, TX 75247

                                                                                                                                                                                                                    209.00
                                                                     Account No. 21189-579952                                  J Extension of Credit
                                                                     D & B RMS
                                                                     PO Box 71460
                                                                     Madison Heights, MI 48071-0460

                                                                                                                                                                                                                    166.95
                                                                     Account No. 482271-4419                                   J Extension of Credit
                                                                     D & B RMS
                                                                     PO Box 5472
                                                                     Mount Laurel, NJ 08054-5472

                                                                                                                                                                                                                      57.61
                                                                     Account No. 5882                                          J Extension of Credit
                                                                     Dannise Beckley, MD
                                                                     921 Shiloh Rd Ste B200
                                                                     Tyler, TX 75703-1403

                                                                                                                                                                                                                      93.23
                                                                     Account No. 001000029130                                  J Extension of Credit
                                                                     Dermatology Associates Of Tyler
                                                                     PO Box 8026
                                                                     Tyler, TX 75711-8026

                                                                                                                                                                                                                    130.76
                                                                                                                                                                                            Subtotal
                                                                     Sheet         2 of          9 Continuation Sheets attached to Schedule F                                   (Total of this page)                819.59

                                                                                                                                             (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                   (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 04-62302             Doc 1      Filed 11/01/04 Entered 11/01/04 14:24:01                              Desc Main
                                                                                                                         Document     Page 13 of 41
                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                         Case No.
                                                                                                                       Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
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                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W   DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                      AMOUNT OF CLAIM
                                                                                                                          B    J           IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                           (See instructions.)
                                                                                                                          T    C                                                          G   D    T
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                                                                     Account No. 0941150432057                                 J Extension of Credit
                                                                     Direct Care Mother Frances Hospital
                                                                     PO Box 844787
                                                                     Dallas, TX 75284-4787

                                                                                                                                                                                                                    339.00
                                                                     Account No. 23766987                                      J Extension of Credit
                                                                     Direct TV
                                                                     PO Box 70014
                                                                     Boise, ID 83707-0114
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                                                                                                                                                                                                                    157.06
                                                                     Account No.                                               J Extension of Credit
                                                                     Dr. Susan Murphy
                                                                     PO Box 1555
                                                                     Rancho Mirage, CA 92270-1056

                                                                                                                                                                                                                  1,500.00
                                                                     Account No. 750                                           J Extension of Credit
                                                                     East Texas Emergency Physicians
                                                                     PO Box 6455
                                                                     Tyler, TX 75711-6455

                                                                                                                                                                                                                    257.00
                                                                     Account No.                                               J Extension of Credit
                                                                     East Texas Medical Center
                                                                     PO Box 7000
                                                                     Tyler, TX 75711-7000

                                                                                                                                                                                                                    684.65
                                                                     Account No. 6011-5683-0223-4174                           J Extension of Credit
                                                                     Encore Receivable Mgmt
                                                                     PO Box 3330
                                                                     Olathe, KS 66063-3330

                                                                                                                                                                                                                  1,185.26
                                                                     Account No. 05017906980                                   J Extension of Credit
                                                                     Farmers Insurance Group
                                                                     PO Box 9137
                                                                     Needham Heights, MA 02494-9137

                                                                                                                                                                                                                      76.90
                                                                                                                                                                                            Subtotal
                                                                     Sheet         3 of          9 Continuation Sheets attached to Schedule F                                   (Total of this page)              4,199.87

                                                                                                                                             (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                   (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 04-62302             Doc 1      Filed 11/01/04 Entered 11/01/04 14:24:01                              Desc Main
                                                                                                                         Document     Page 14 of 41
                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                         Case No.
                                                                                                                       Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)
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                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W   DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                      AMOUNT OF CLAIM
                                                                                                                          B    J           IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
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                                                                     Account No. 2404-7282-1                                   J Extension of Credit
                                                                     Fed Ex
                                                                     PO Box 1140
                                                                     Memphis, TN 38101-1140

                                                                                                                                                                                                                      94.21
                                                                     Account No.                                               J Extension of Credit
                                                                     Gary Minor
                                                                     2236 Oakleaf Dr
                                                                     Franklin, TN 37064-7413
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                                                                                                                                                                                                                    598.00
                                                                     Account No. 3504083350008                                 J Extension of Credit
                                                                     GC Services
                                                                     6330 Gulfton St
                                                                     Houston, TX 77081-1108

                                                                                                                                                                                                                      31.87
                                                                     Account No. 117479H                                       J Extension of Credit
                                                                     Heaton Eye Associates
                                                                     3415 Golden Rd
                                                                     Tyler, TX 75701-8355

                                                                                                                                                                                                                    140.00
                                                                     Account No. 03-3739                                       J Extension of Credit
                                                                     Jay Taylor, Pc
                                                                     3311 Richmond Ave Ste 307
                                                                     Houston, TX 77098-3024

                                                                                                                                                                                                                  5,561.04
                                                                     Account No.                                               J Extension of Credit
                                                                     Jerome Deutsch
                                                                     104 S 7th St
                                                                     Coplay, PA 18037-1110

                                                                                                                                                                                                                  1,500.00
                                                                     Account No.                                               J Extension of Credit
                                                                     Larry Brudnicki
                                                                     PO Box 318
                                                                     Sunapee, NH 03782-0318

                                                                                                                                                                                                                  3,000.00
                                                                                                                                                                                            Subtotal
                                                                     Sheet         4 of          9 Continuation Sheets attached to Schedule F                                   (Total of this page)             10,925.12

                                                                                                                                             (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                   (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 04-62302             Doc 1      Filed 11/01/04 Entered 11/01/04 14:24:01                              Desc Main
                                                                                                                         Document     Page 15 of 41
                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                         Case No.
                                                                                                                       Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)
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                                                                                                                          D    H                                                          T   Q    S
                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W   DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                      AMOUNT OF CLAIM
                                                                                                                          B    J           IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                           (See instructions.)
                                                                                                                          T    C                                                          G   D    T
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                                                                                                                                                                                              D

                                                                     Account No. 6011-5683-0223-4174                           J Extension of Credit
                                                                     LTD Financial Services, LP
                                                                     7322 Southwest Fwy Ste 1600
                                                                     Houston, TX 77074-2000

                                                                                                                                                                                                                  1,186.26
                                                                     Account No.                                               J Extension of Credit
                                                                     Lynn Burnett Murphey
                                                                     4898 Cambridge Dr
                                                                     Dunwoody, GA 30338-5049
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                                                                                                                                                                                                                  1,500.00
                                                                     Account No.                                               J Extension of Credit
                                                                     Mark Johnson
                                                                     809 East 1th Street
                                                                     Eudora, KS 66025

                                                                                                                                                                                                                    598.00
                                                                     Account No. MT8194/S967                                   J Extension of Credit
                                                                     Mary Kay
                                                                     Southwest Dist Center
                                                                     13835 Senlac Dr
                                                                     Dallas, TX 75234-8822
                                                                                                                                                                                                                      36.37
                                                                     Account No.                                               J Extension of Credit
                                                                     Maxx E Fx
                                                                     719 W Front St Ste 65
                                                                     Tyler, TX 75702-7964

                                                                                                                                                                                                                    300.00
                                                                     Account No. 004774445586                                  J Extension of Credit
                                                                     National Revenue Corporation
                                                                     2323 Lake Club Dr
                                                                     Columbus, OH 43232-3155

                                                                                                                                                                                                                  2,050.69
                                                                     Account No.                                               J Extension of Credit
                                                                     National Revenue Corporation
                                                                     2323 Lake Club Dr
                                                                     Columbus, OH 43232-3155

                                                                                                                                                                                                                    279.43
                                                                                                                                                                                            Subtotal
                                                                     Sheet         5 of          9 Continuation Sheets attached to Schedule F                                   (Total of this page)              5,950.75

                                                                                                                                             (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                   (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 04-62302             Doc 1      Filed 11/01/04 Entered 11/01/04 14:24:01                              Desc Main
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                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                         Case No.
                                                                                                                       Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)
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                                                                                                                          D    H                                                          T   Q    S
                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W   DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                      AMOUNT OF CLAIM
                                                                                                                          B    J           IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                           (See instructions.)
                                                                                                                          T    C                                                          G   D    T
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                                                                                                                                                                                              D

                                                                     Account No. 004792587552                                  J Extension of Credit
                                                                     NCO Financial Systems
                                                                     PO Box 41457
                                                                     Philadelphia, PA 19101-1457

                                                                                                                                                                                                                    279.43
                                                                     Account No. K047604                                       J Extension of Credit
                                                                     PCC, Inc.
                                                                     PO Box 2004
                                                                     Jenks, OK 74037-2004
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                                                                                                                                                                                                                    193.50
                                                                     Account No.                                               J Extension of Credit
                                                                     Peggy Grall
                                                                     554 Hawthorne Cr
                                                                     Hilton, ON L9T 4N8

                                                                                                                                                                                                                    336.50
                                                                     Account No. 9587,9669,9736,9772                           J Extension of Credit
                                                                     Pocket-Pak Albums
                                                                     111 Ferguson Ct Ste 105
                                                                     Irving, TX 75062-7014

                                                                                                                                                                                                                  1,373.77
                                                                     Account No. Marocom 01                                    J Extension of Credit
                                                                     QTI, Inc.
                                                                     469 E Olmos Dr
                                                                     San Antonio, TX 78212-2035

                                                                                                                                                                                                                      61.41
                                                                     Account No. 2604386565                                    J Extension of Credit
                                                                     Quest Diagnostics
                                                                     PO Box 41652
                                                                     Philadelphia, PA 19101-1652

                                                                                                                                                                                                                    101.00
                                                                     Account No.                                               J Extension of Credit
                                                                     Rebecca Ryan
                                                                     4459 Honeywood Ct
                                                                     Jackson, WI 53037-9658

                                                                                                                                                                                                                  3,000.00
                                                                                                                                                                                            Subtotal
                                                                     Sheet         6 of          9 Continuation Sheets attached to Schedule F                                   (Total of this page)              5,345.61

                                                                                                                                             (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                   (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 04-62302             Doc 1      Filed 11/01/04 Entered 11/01/04 14:24:01                              Desc Main
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                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                         Case No.
                                                                                                                       Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)
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                                                                                                                          C                                                               O   L    D
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                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W   DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                      AMOUNT OF CLAIM
                                                                                                                          B    J           IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                           (See instructions.)
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                                                                     Account No. 3080320                                       J Extension of Credit
                                                                     Risk Management Alternatives
                                                                     802 E Martintown Rd Ste 201
                                                                     North Augusta, SC 29841-5352

                                                                                                                                                                                                                    192.10
                                                                     Account No. 647005842                                     J Extension of Credit
                                                                     RMCB
                                                                     2269 Saw Mill River Rd Ste 3
                                                                     Elmsford, NY 10523-3839
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                                                                                                                                                                                                                      50.04
                                                                     Account No.                                               J Extension of Credit
                                                                     Sara Vasura
                                                                     4898 Cambridge Dr
                                                                     Dunwoody, GA 30338-5049

                                                                                                                                                                                                                  3,000.00
                                                                     Account No.                                               J Extension of Credit
                                                                     Sears
                                                                     Payment Center
                                                                     86 Annex
                                                                     Atlanta, GA 30386-0001
                                                                                                                                                                                                                    600.00
                                                                     Account No. #4194                                         J Extension of Credit
                                                                     Security Check
                                                                     PO Box 1211
                                                                     Oxford, MS 38655-1211

                                                                                                                                                                                                                      49.88
                                                                     Account No.                                               J Extension of Credit
                                                                     Sid Kemp
                                                                     469 E Olmos Dr
                                                                     San Antonio, TX 78212-2035

                                                                                                                                                                                                                    275.00
                                                                     Account No. 903-939-3571-298-4                            J Extension of Credit
                                                                     Southwestern Bell
                                                                     PO Box 930170
                                                                     Dallas, TX 75393-0170

                                                                                                                                                                                                                    940.78
                                                                                                                                                                                            Subtotal
                                                                     Sheet         7 of          9 Continuation Sheets attached to Schedule F                                   (Total of this page)              5,107.80

                                                                                                                                             (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                   (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 04-62302             Doc 1      Filed 11/01/04 Entered 11/01/04 14:24:01                              Desc Main
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                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                         Case No.
                                                                                                                       Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)
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                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W   DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                      AMOUNT OF CLAIM
                                                                                                                          B    J           IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                           (See instructions.)
                                                                                                                          T    C                                                          G   D    T
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                                                                     Account No. 826688                                        J Extension of Credit
                                                                     Texas Medicine Resources, L.P.
                                                                     PO Box 8549
                                                                     Fort Worth, TX 76124-0549

                                                                                                                                                                                                                    286.00
                                                                     Account No. 59968                                         J Extension of Credit
                                                                     Texas Trauma & Emergency Care
                                                                     PO Box 9879
                                                                     Tyler, TX 75711-2879
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                                                                                                                                                                                                                      11.45
                                                                     Account No. T956310                                       J Extension of Credit
                                                                     Tri-State Finanial
                                                                     PO Box 130696
                                                                     Tyler, TX 75713-0696

                                                                                                                                                                                                                    140.00
                                                                     Account No. T834032                                       J Extension of Credit
                                                                     Tri-State Finanial
                                                                     PO Box 130696
                                                                     Tyler, TX 75713-0696

                                                                                                                                                                                                                    668.85
                                                                     Account No.                                               J Extension of Credit
                                                                     Trinity Clinic
                                                                     PO Box 5500
                                                                     Tyler, TX 75712-5500

                                                                                                                                                                                                                    612.35
                                                                     Account No.                                               J Extension of Credit
                                                                     Trinity Mother Francis Hospital
                                                                     PO Box 844787
                                                                     Dallas, TX 75284-4787

                                                                                                                                                                                                                    295.04
                                                                     Account No. 3504083350008                                 J Extension of Credit
                                                                     TRS Recovery Services Inc.
                                                                     5251 Westheimer Rd
                                                                     Houston, TX 77056-5412

                                                                                                                                                                                                                    100.46
                                                                                                                                                                                            Subtotal
                                                                     Sheet         8 of          9 Continuation Sheets attached to Schedule F                                   (Total of this page)              2,114.15

                                                                                                                                             (Complete only on last sheet of Schedule F) TOTAL
                                                                                                                                                                                   (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                   Case 04-62302             Doc 1      Filed 11/01/04 Entered 11/01/04 14:24:01                              Desc Main
                                                                                                                         Document     Page 19 of 41
                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                         Case No.
                                                                                                                       Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)
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                                                                                                                          D    H                                                          T   Q    S
                                                                                CREDITOR'S NAME, MAILING ADDRESS
                                                                                                                          E    W   DATE CLAIM WAS INCURRED AND CONSIDERATION FOR CLAIM.   I   U    P
                                                                             INCLUDING ZIP CODE, AND ACCOUNT NUMBER                                                                                      AMOUNT OF CLAIM
                                                                                                                          B    J           IF CLAIM IS SUBJECT TO SETOFF, SO STATE.       N   I    U
                                                                                           (See instructions.)
                                                                                                                          T    C                                                          G   D    T
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                                                                     Account No. 29640208                                      J Extension of Credit
                                                                     Tyler Radiology Associates
                                                                     PO Box 131120
                                                                     Tyler, TX 75713-1120

                                                                                                                                                                                                                      92.00
                                                                     Account No. 4465881700450130                              J Extension of Credit
                                                                     Unifund
                                                                     10625 Techwood Cir
                                                                     Cincinnati, OH 45242-2846
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                                                                                                                                                                                                                  5,561.04
                                                                     Account No. 000085AE90                                    J Extension of Credit
                                                                     UPS
                                                                     PO Box 505820
                                                                     The Lakes, NV 88905-5820

                                                                                                                                                                                                                    424.88
                                                                     Account No. 415700372318386710                            J Extension of Credit
                                                                     Verizon Wireless
                                                                     PO Box 11328
                                                                     Saint Petersburg, FL 33733-1328

                                                                                                                                                                                                                    219.33
                                                                     Account No.                                               J Extension of Credit
                                                                     Weight Watchers
                                                                     13714 Gamma Rd Ste 200
                                                                     Dallas, TX 75244-4469

                                                                                                                                                                                                                      54.00
                                                                     Account No. Joseph Charbonneau Est.                       J Extension of Credit
                                                                     Weiss Berzowski Brady LLP
                                                                     Atty Philip J. Miller
                                                                     700 N Water St
                                                                     Milwaukee, WI 53202-4206
                                                                                                                                                                                                                  7,000.00
                                                                     Account No. WI000010650051                                J Extension of Credit
                                                                     World Insurance
                                                                     PO Box 3710
                                                                     Omaha, NE 68103-0710

                                                                                                                                                                                                                    690.07
                                                                                                                                                                                            Subtotal
                                                                     Sheet         9 of          9 Continuation Sheets attached to Schedule F                                   (Total of this page)             14,041.32

                                                                                                                                             (Complete only on last sheet of Schedule F) TOTAL                   76,899.27
                                                                                                                                                                                   (Report total also on Summary of Schedules)
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                     Case 04-62302                  Doc 1         Filed 11/01/04 Entered 11/01/04 14:24:01                                        Desc Main
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                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                                            Case No.
                                                                                                                                 Debtor(s)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                     Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                     State nature of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease.
                                                                     Provide the names and complete addresses of all other parties to each lease or contract described.
                                                                     NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also scheduled in the appropriate schedule of creditors.

                                                                     üCheck this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                    DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                        STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                          STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                    Case 04-62302                  Doc 1         Filed 11/01/04 Entered 11/01/04 14:24:01                                       Desc Main
                                                                                                                                  Document     Page 21 of 41
                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                                         Case No.
                                                                                                                               Debtor(s)

                                                                                                                                   SCHEDULE H - CODEBTORS
                                                                     Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in the schedules of
                                                                     creditors. Include all guarantors and co-signers. In community property states, a married debtor not filing a joint case should report the name and address of the nondebtor
                                                                     spouse on this schedule. Include all names used by the nondebtor spouse during the six years immediately preceding the commencement of this case.

                                                                     üCheck this box if debtor has no codebtors.

                                                                                               NAME AND ADDRESS OF CODEBTOR                                                           NAME AND ADDRESS OF CREDITOR
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                                                                     SCHEDULE H - CODEBTORS
                                                                                    Case 04-62302                  Doc 1          Filed 11/01/04 Entered 11/01/04 14:24:01                                      Desc Main
                                                                                                                                   Document     Page 22 of 41
                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                                          Case No.
                                                                                                                                Debtor(s)

                                                                                                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not a joint petition is filed,
                                                                     unless the spouses are separated and a joint petition is not filed.

                                                                      Debtor's Marital Status                                                             DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Married                                      RELATIONSHIP                                                                                           AGE
                                                                                                                   Daughter                                                                                               6




                                                                      EMPLOYMENT:                                             DEBTOR                                                                     SPOUSE
                                                                      Occupation                Professional Speaker                                                     Disabled
                                                                      Name of Employer          Self-Employed
                                                                      How long employed         8 Years
                                                                      Address of Employer



                                                                     Income: (Estimate of average monthly income)                                                                                          DEBTOR                     SPOUSE
                                                                     Current Monthly gross wages, salary, and commissions (pro rata if not paid monthly)                                       $             3,500.00 $
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                                                                     Estimated monthly overtime                                                                                                $                          $
                                                                     SUBTOTAL                                                                                                                  $             3,500.00 $                      0.00
                                                                      LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                    $                          $
                                                                       b. Insurance                                                                                                            $                          $
                                                                       c. Union dues                                                                                                           $                          $
                                                                       d. Other (specify)                                                                                                      $                          $
                                                                                                                                                                                               $                          $
                                                                     SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                            $                   0.00 $                    0.00
                                                                     TOTAL NET MONTHLY TAKE HOME PAY                                                                                           $             3,500.00 $                      0.00

                                                                     Regular income from operation of business or profession or farm (attach detailed statement)                               $                          $
                                                                     Income from real property                                                                                                 $                          $
                                                                     Interest and dividends                                                                                                    $                          $
                                                                     Alimony, maintenance or support payments payable to the debtor for the debtor’s use
                                                                     or that of dependents listed above                                                                                        $                          $
                                                                     Social Security or other government assistance
                                                                     (Specify) Social Security Disability                                                                                      $                          $               435.00
                                                                                                                                                                                               $                          $
                                                                     Pension or retirement income                                                                                              $                          $
                                                                     Other monthly income
                                                                     (Specify)                                                                                                                 $                          $
                                                                                                                                                                                               $                          $
                                                                                                                                                                                               $                          $

                                                                     TOTAL MONTHLY INCOME                                                                                                      $             3,500.00 $                   435.00

                                                                     TOTAL COMBINED MONTHLY INCOME $                                                3,935.00 (Report also on Summary of Schedules)

                                                                     Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of this document:




                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                    Case 04-62302                 Doc 1        Filed 11/01/04 Entered 11/01/04 14:24:01                                     Desc Main
                                                                                                                                Document     Page 23 of 41
                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                                      Case No.
                                                                                                                              Debtor(s)

                                                                                              SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average monthly expenses of the debtor and the debtor’s family. Pro rate any payments made bi-weekly, quarterly, semi-annually,
                                                                     or annually to show monthly rate.

                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     Rent or home mortgage payment (include lot rented for mobile home)                                                                             $               916.00
                                                                     Are real estate taxes included? Yes      No ü
                                                                     Is property insurance included? Yes      No ü
                                                                     Utilities: Electricity and heating fuel                                                                                                        $               200.00
                                                                                Water and sewer                                                                                                                     $                75.00
                                                                                Telephone                                                                                                                           $               100.00
                                                                                Other Cable & Internet                                                                                                              $                86.00
                                                                                         Trash                                                                                                                      $                14.00
                                                                                                                                                                                                                    $
                                                                     Home maintenance (repairs and upkeep)                                                                                                          $                25.00
                                                                     Food                                                                                                                                           $               250.00
                                                                     Clothing                                                                                                                                       $               100.00
                                                                     Laundry and dry cleaning                                                                                                                       $                50.00
                                                                     Medical and dental expenses                                                                                                                    $               100.00
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                                                                     Transportation (not including car payments)                                                                                                    $               200.00
                                                                     Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                               $               100.00
                                                                     Charitable contributions                                                                                                                       $
                                                                     Insurance (not deducted from wages or included in home mortgage payments)
                                                                       Homeowner’s or renter’s                                                                                                                      $               130.00
                                                                       Life                                                                                                                                         $                50.00
                                                                       Health                                                                                                                                       $
                                                                       Auto                                                                                                                                         $               125.00
                                                                       Other                                                                                                                                        $
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $
                                                                     Taxes (not deducted from wages or included in home mortgage payments)
                                                                     (Specify) Property Taxes                                                                                                                       $               230.00
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $
                                                                     Installment payments (in chapter 12 and 13 cases, do not list payments to be included in the plan)
                                                                       Auto                                                                                                                                         $               250.00
                                                                       Other                                                                                                                                        $
                                                                                                                                                                                                                    $
                                                                     Alimony, maintenance, and support paid to others                                                                                               $
                                                                     Payments for support of additional dependents not living at your home                                                                          $
                                                                     Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $
                                                                     Other                                                                                                                                          $
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                    $

                                                                     TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                                                                   $             3,001.00

                                                                     (FOR CHAPTER 12 AND 13 DEBTORS ONLY)
                                                                     Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually, or at some
                                                                     other regular interval.
                                                                       A. Total projected monthly income                                                                             $           3,935.00
                                                                       B. Total projected monthly expenses                                                                           $           3,001.00
                                                                       C. Excess income (A minus B)                                                                                  $             934.00
                                                                       D. Total amount to be paid into plan each Monthly                                                             $             934.00
                                                                                                                                             (interval)
                                                                     SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                    Case 04-62302                 Doc 1         Filed 11/01/04 Entered 11/01/04 14:24:01                                      Desc Main
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                                                                                                                                 United States Bankruptcy Court
                                                                                                                                     Eastern District of Texas

                                                                     IN RE:                                                                                                               Case No.
                                                                     MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                                              Chapter 13
                                                                                                                         Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts from Schedules D, E, and F to determine the total
                                                                     amount of the debtor's liabilities.
                                                                                                                                                                                            AMOUNTS SCHEDULED

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)           SHEETS                 ASSETS                 LIABILITIES                 OTHER


                                                                      A - Real Property                                              Yes                      1               130,000.00



                                                                      B - Personal Property                                          Yes                      2                  8,725.00



                                                                      C - Property Claimed as Exempt                                 Yes                      1
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                                                                      D - Creditors Holding Secured Claims                           Yes                      1                                        121,760.47


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                     Yes                      2                                            7,260.99
                                                                          Claims

                                                                      F - Creditors Holding Unsecured
                                                                                                                                     Yes                     10                                          76,899.27
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                     Yes                      1
                                                                          Leases


                                                                       H - Codebtors                                                 Yes                      1


                                                                       I - Current Income of Individual
                                                                                                                                     Yes                      1                                                                     3,935.00
                                                                           Debtor(s)

                                                                       J - Current Expenditures of Individual
                                                                                                                                     Yes                      1                                                                     3,001.00
                                                                           Debtor(s)


                                                                                                 Total Number of Sheets in Schedules                         21



                                                                                                                                                   Total Assets               138,725.00



                                                                                                                                                                       Total Liabilities               205,920.73




                                                                     SUMMARY OF SCHEDULES
                                                                                         Case 04-62302                        Doc 1             Filed 11/01/04 Entered 11/01/04 14:24:01                   Desc Main
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                                                                     IN RE MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                                Case No.
                                                                                                                                               Debtor(s)

                                                                                                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                                 DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                              22 sheets, and that
                                                                                                                                                                                           (Total shown on summary page plus 1)
                                                                     they are true and correct to the best of my knowledge, information, and belief.


                                                                     Date: November 1, 2004                                           Signature: /s/ JONATHAN PAUL MARONEY
                                                                                                                                                                                                                                                 Debtor
                                                                                                                                                      JONATHAN PAUL MARONEY

                                                                     Date: November 1, 2004                                           Signature: /s/ TONYA MARONEY
                                                                                                                                                                                                                                   (Joint Debtor, if any)
                                                                                                                                                      TONYA MARONEY

                                                                                                                                                                                        [If joint case, both spouses must sign.]


                                                                         CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110, that I prepared this document for compensation, and that
                                                                     I have provided the debtor with a copy of this document.
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                                                                     Printed or Typed Name of Bankruptcy Petition Preparer                                                       Social Security No.
                                                                                                                                                                                 (Required by 11 U.S.C. § 110(c).)




                                                                     Address


                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:
                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each
                                                                     person.



                                                                     Signature of Bankruptcy Petition Preparer                                                                   Date


                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedures may result
                                                                     in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                       DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                       (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of                  sheets, and that they are true and correct to the best of my knowledge, information, and belief.
                                                                                                        (Total shown on summary page plus 1)




                                                                     Date:                                                            Signature:


                                                                                                                                                                                           (Print or type name of individual signing on behalf of debtor)


                                                                                                         [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]


                                                                        Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.


                                                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES
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                                                                                                                               United States Bankruptcy Court
                                                                                                                                   Eastern District of Texas

                                                                     IN RE:                                                                                                          Case No.
                                                                     MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                                         Chapter 13
                                                                                                                        Debtor(s)

                                                                                                                        STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs.

                                                                        Questions 1-18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19-25.
                                                                     If the answer to an applicable question is “None,” mark the box labeled “None.” If additional space is needed for the answer to any question, use
                                                                     and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                              DEFINITIONS

                                                                       “In business.” A debtor is “in business” for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is “in business”
                                                                     for the purpose of this form if the debtor is or has been, within the six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
                                                                     partner, of a partnership; a sole proprietor or self-employed.
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                                                                       “Insider.” The term “insider” includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
                                                                     a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business from
                                                                             the beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two years immediately
                                                                             preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
                                                                             report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)
                                                                                 AMOUNT SOURCE (if more than one)
                                                                                  7,000.00 HUSBAND'S YEAR TO DATE
                                                                                  4,150.00 WIFE'S YEAR TO DATE
                                                                                 11,807.00 2002 Adjusted Gross Income
                                                                                  8,289.00 2003 Adjusted Gross Income

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor’s business during
                                                                      ü      the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)

                                                                     3. Payments to creditors
                                                                      None   a. List all payments on loans, installment purchases of goods or services, and other debts, aggregating more than $600 to any creditor, made within
                                                                      ü      90 days immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include payments
                                                                             by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   b. List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors who are or
                                                                      ü      were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                      ü      bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)



                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                      ü      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                             the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                                                                      DATE OF REPOSSESSION,
                                                                                                                                      FORECLOSURE SALE,                   DESCRIPTION AND VALUE
                                                                     NAME AND ADDRESS OF CREDITOR OR SELLER                           TRANSFER OR RETURN                  OF PROPERTY
                                                                     Americredit                                                      09/2004                             1999 Mazda 626
                                                                     4001 Embarcadero Dr
                                                                     Arlington, TX 76014-4106

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      ü      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                      ü      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                      DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                        PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     RICHARD H. HUGHES                                                10/28/2004                                                             500.00
                                                                     3535 S Broadway Ave Ste C
                                                                     Tyler, TX 75701-8740

                                                                     10. Other transfers
                                                                      None   List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                      ü      absolutely or as security within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                      ü      transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, association,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)




                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                      ü      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      ü
                                                                     15. Prior address of debtor
                                                                      None   If the debtor has moved within the two years immediately preceding the commencement of this case, list all premises which the debtor occupied
                                                                      ü      during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      ü      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the six-year period immediately preceding the commencement of
                                                                             the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.
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                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                      ü      of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partnership, sole proprietorship,
                                                                             or was a self-employed professional within the six years immediately preceding the commencement of this case, or in which the debtor owned
                                                                             5 percent or more of the voting or equity securities within the six years immediately preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within the six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                             preceding the commencement of this case.

                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
                                                                      ü


                                                                     STATEMENT OF FINANCIAL AFFAIRS
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                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: November 1, 2004                     Signature /s/ JONATHAN PAUL MARONEY
                                                                                                                of Debtor                                                        JONATHAN PAUL MARONEY

                                                                     Date: November 1, 2004                     Signature /s/ TONYA MARONEY
                                                                                                                of Joint Debtor                                                              TONYA MARONEY
                                                                                                                (if any)

                                                                                                                                0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
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                                                                                                                   United States Bankruptcy Court
                                                                                                                       Eastern District of Texas

                                                                     IN RE:                                                                                  Case No.
                                                                     MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                 Chapter 13
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: November 1, 2004                 Signature: /s/ JONATHAN PAUL MARONEY
                                                                                                                        JONATHAN PAUL MARONEY                                                    Debtor



                                                                     Date: November 1, 2004                 Signature: /s/ TONYA MARONEY
                                                                                                                        TONYA MARONEY                                                Joint Debtor, if any
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                                                                     VERIFICATION OF CREDITOR MATRIX
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            Allied Interstate, Inc.
            5062 N 19th Ave Ste 102
            Phoenix, AZ 85015-3225


            American Professional Credit
            PO Box 70127
            Marietta, GA 30007-0127


            Americredit
            4001 Embarcadero Dr
            Arlington, TX 76014-4106


            Ann Mah
            3351 SE Meadowview Dr
            Topeka, KS 66605-3022


            Azalea Orthopedic Sports Medicine
            1905 S Donnybrook Ave
            Tyler, TX 75701-4236


            Banto Book Group
            PO Box 60
            Menasha, WI 54952-0060


            Barbara Lilly
            6927 W Mississippi Ave
            Portland, OR 97217


            Bennett & Deloney
            PO Box 190
            Midvale, UT 84047-0190


            Betsy Hass
            5738 Cedros Ave
            Van Nuys, CA 91411-3343
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            Bonded Collections
            PO Box 36155
            Cincinnati, OH 45236-0155


            C.C.S.
            PO Box 5472
            Mount Laurel, NJ       08054-5472


            Card Service International
            PO Box 5180
            Simi Valley, CA 93062-5180


            Centex Home Equity
            350 Highland Dr.
            Lewisville, TX 75067


            Cox Communications
            PO Box 139004
            Tyler, TX 75713-9004


            CRA
            PO Box 67555
            Harrisburg, PA      17106-7555


            Crystal Clear Sound
            7902 Don Drive
            Dallas, TX 75247


            D & B RMS
            PO Box 71460
            Madison Heights, MI        48071-0460


            D & B RMS
            PO Box 5472
            Mount Laurel, NJ       08054-5472
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            Dannise Beckley, MD
            921 Shiloh Rd Ste B200
            Tyler, TX 75703-1403


            Dermatology Associates Of Tyler
            PO Box 8026
            Tyler, TX 75711-8026


            Direct Care Mother Frances Hospital
            PO Box 844787
            Dallas, TX 75284-4787


            Direct TV
            PO Box 70014
            Boise, ID 83707-0114


            Dr. Susan Murphy
            PO Box 1555
            Rancho Mirage, CA       92270-1056


            East Texas Emergency Physicians
            PO Box 6455
            Tyler, TX 75711-6455


            East Texas Medical Center
            PO Box 7000
            Tyler, TX 75711-7000


            Encore Receivable Mgmt
            PO Box 3330
            Olathe, KS 66063-3330


            Farmers Insurance Group
            PO Box 9137
            Needham Heights, MA 02494-9137
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            Fed Ex
            PO Box 1140
            Memphis, TN      38101-1140


            Gary Minor
            2236 Oakleaf Dr
            Franklin, TN 37064-7413


            GC Services
            6330 Gulfton St
            Houston, TX 77081-1108


            Heaton Eye Associates
            3415 Golden Rd
            Tyler, TX 75701-8355


            Internal Revenue Service
            Special Procedures Branch
            1100 Commerce Street, MC5020DAL
            Dallas, TX 75242


            Internal Revenue Service
            Special Procedures Branch
            1100 Commerce Street, MC502DAL
            Dallas, TX 75242


            Jay Taylor, Pc
            3311 Richmond Ave Ste 307
            Houston, TX 77098-3024


            Jerome Deutsch
            104 S 7th St
            Coplay, PA 18037-1110
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            Kay Smith
            Smith County Tax Office
            PO Box 2011
            Tyler, TX 75710-2011


            Larry Brudnicki
            PO Box 318
            Sunapee, NH 03782-0318


            LTD Financial Services, LP
            7322 Southwest Fwy Ste 1600
            Houston, TX 77074-2000


            Lynn Burnett Murphey
            4898 Cambridge Dr
            Dunwoody, GA 30338-5049


            Madaline Stanport
            PO Box 749
            Lexington, TX 78947-0749


            Mark Johnson
            809 East 1th Street
            Eudora, KS 66025


            Mary Kay
            Southwest Dist Center
            13835 Senlac Dr
            Dallas, TX 75234-8822


            Maxx E Fx
            719 W Front St Ste 65
            Tyler, TX 75702-7964
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            National Revenue Corporation
            2323 Lake Club Dr
            Columbus, OH 43232-3155


            NCO Financial Systems
            PO Box 41457
            Philadelphia, PA 19101-1457


            PCC, Inc.
            PO Box 2004
            Jenks, OK 74037-2004


            Peggy Grall
            554 Hawthorne Cr
            Hilton, ON L9T 4N8


            Pocket-Pak Albums
            111 Ferguson Ct Ste 105
            Irving, TX 75062-7014


            QTI, Inc.
            469 E Olmos Dr
            San Antonio, TX       78212-2035


            Quest Diagnostics
            PO Box 41652
            Philadelphia, PA 19101-1652


            Rebecca Ryan
            4459 Honeywood Ct
            Jackson, WI 53037-9658


            Risk Management Alternatives
            802 E Martintown Rd Ste 201
            North Augusta, SC 29841-5352
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            RMCB
            2269 Saw Mill River Rd Ste 3
            Elmsford, NY 10523-3839


            Sara Vasura
            4898 Cambridge Dr
            Dunwoody, GA 30338-5049


            Sears
            Payment Center
            86 Annex
            Atlanta, GA 30386-0001


            Security Check
            PO Box 1211
            Oxford, MS 38655-1211


            Sid Kemp
            469 E Olmos Dr
            San Antonio, TX       78212-2035


            Southwestern Bell
            PO Box 930170
            Dallas, TX 75393-0170


            Texas Medicine Resources, L.P.
            PO Box 8549
            Fort Worth, TX 76124-0549


            Texas Trauma & Emergency Care
            PO Box 9879
            Tyler, TX 75711-2879


            Texas Workforce Commission
            PO Box 149080
            Austin, TX 78714-9080
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            Tri-State Finanial
            PO Box 130696
            Tyler, TX 75713-0696


            Trinity Clinic
            PO Box 5500
            Tyler, TX 75712-5500


            Trinity Mother Francis Hospital
            PO Box 844787
            Dallas, TX 75284-4787


            TRS Recovery Services Inc.
            5251 Westheimer Rd
            Houston, TX 77056-5412


            Tyler Radiology Associates
            PO Box 131120
            Tyler, TX 75713-1120


            Unifund
            10625 Techwood Cir
            Cincinnati, OH 45242-2846


            United States Attorney's Office
            110 N College Ave Ste 700
            Tyler, TX 75702-7237


            United States Trustees Office
            110 N College Ave Ste 300
            Tyler, TX 75702-7231


            UPS
            PO Box 505820
            The Lakes, NV      88905-5820
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            Verizon Wireless
            PO Box 11328
            Saint Petersburg, FL        33733-1328


            Weight Watchers
            13714 Gamma Rd Ste 200
            Dallas, TX 75244-4469


            Weiss Berzowski Brady LLP
            Atty Philip J. Miller
            700 N Water St
            Milwaukee, WI 53202-4206


            World Insurance
            PO Box 3710
            Omaha, NE 68103-0710
                                                                                           Case 04-62302                               Doc 1                Filed 11/01/04 Entered 11/01/04 14:24:01                                                                          Desc Main
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                                                                                                                                                             United States Bankruptcy Court
                                                                                                                                                                 Eastern District of Texas

                                                                     IN RE:                                                                                                                                                                     Case No.
                                                                     MARONEY, JONATHAN PAUL & MARONEY, TONYA                                                                                                                                    Chapter 13
                                                                                                                                                  Debtor(s)

                                                                                                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                     1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
                                                                            one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
                                                                            of or in connection with the bankruptcy case is as follows:

                                                                            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               2,000.00

                                                                            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                    500.00

                                                                            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $   1,500.00

                                                                     2.     The source of the compensation paid to me was:                            üDebtor                 Other (specify):

                                                                     3.     The source of compensation to be paid to me is:                           üDebtor                 Other (specify):

                                                                     4.     ü I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
                                                                                   I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
                                                                                   together with a list of the names of the people sharing in the compensation, is attached.
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                                                                     5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                            a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                            b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                                                                            c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                            d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                                                                            e.     [Other provisions as needed]




                                                                     6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:




                                                                                                                                                                                    CERTIFICATION
                                                                          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                                                                          proceeding.


                                                                                                November 1, 2004                                                    /s/ Richard H. Hughes
                                                                                                               Date                                                                                                             Signature of Attorney

                                                                                                                                                                    Law Office Of Richard H. Hughes
                                                                                                                                                                                                                                  Name of Law Firm

                                                                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
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                                                                                                                         UNITED STATES BANKRUPTCY COURT

                                                                                                               NOTICE TO INDIVIDUAL CONSUMER DEBTOR

                                                                                       The purpose of this notice is to acquaint you with the four chapters of the federal Bankruptcy Code under which you may file a
                                                                                       bankruptcy petition. The bankruptcy law is complicated and not easily described. Therefore, you should seek the advice of an attorney
                                                                                       to learn of your rights and responsibilities under the law should you decide to file a petition with the court. Neither the judge nor the
                                                                                       court's employees may provide you with legal advice.


                                                                     Chapter 7: Liquidation ($155 filing fee plus $39 administrative fee plus $15 trustee surcharge)*
                                                                        1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                                                                        2. Under Chapter 7 a trustee takes possession of all your property. You may claim certain of your property as exempt under
                                                                     governing law. The trustee then liquidates the property and uses the proceeds to pay your creditors according to priorities of
                                                                     the Bankruptcy Code.
                                                                        3. The purpose of filing a Chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
                                                                     committed certain kinds of improper conduct described in the Bankruptcy Code, your discharge may be denied by the court,
                                                                     and the purpose for which you filed the bankruptcy petition will be defeated.
                                                                        4. Even if you receive a discharge, there are some debts that are not discharged under the law. Therefore, you may still be
                                                                     responsible for such debts as certain taxes and student loans, alimony and support payments, criminal restitution, and debts
                                                                     for death or personal injury caused by driving while intoxicated from alcohol or drugs.
                                                                        5. Under certain circumstances you may keep property that you have purchased subject to a valid security interest. Your
                                                                     attorney can explain the options that are available to you.
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                                                                     Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($155 filing fee plus $39
                                                                     administrative fee)*
                                                                        1. Chapter 13 is designed for individuals with regular income who are temporarily unable to pay their debts but would like
                                                                     to pay them in installments over a period of time. You are only eligible for Chapter 13 if your debts do not exceed certain
                                                                     dollar amounts set forth in the Bankruptcy Code.
                                                                        2. Under Chapter 13 you must file a plan with the court to repay your creditors all or part of the money that you owe them,
                                                                     using your future earnings. Usually the period allowed by the court to repay your debts is three years, but not more than five
                                                                     years. Your plan must be approved by the court before it can take effect.
                                                                        3. Under Chapter 13, unlike Chapter 7, you may keep all your property, both exempt and non-exempt, as long as you
                                                                     continue to make payments under the plan.
                                                                        4. After completion of payments under your plan, your debts are discharged except alimony and support payments, student
                                                                     loans, certain debts including criminal fines and restitution and debts for death or personal injury caused by driving while
                                                                     intoxicated from alcohol or drugs, and long term secured obligations.
                                                                     Chapter 11: Reorganization ($800 filing fee plus $39 administrative fee)*
                                                                        Chapter 11 is designed primarily for the reorganization of a business but is also available to consumer debtors. Its provisions
                                                                     are quite complicated, and any decision for an individual to file a Chapter 11 petition should be reviewed with an attorney.
                                                                     Chapter 12: Family Farmer ($200 filing fee plus $39 administrative fee)*
                                                                        Chapter 12 is designed to permit family farmers to repay their debts over a period of time from future earnings and is in
                                                                     many ways similar to a Chapter 13. The eligibility requirements are restrictive, limiting its use to those who income arises
                                                                     primarily from a family owned farm.
                                                                     * Fees are subject to change and should be confirmed before filing.


                                                                                                                                       ACKNOWLEDGEMENT

                                                                     I, the debtor, affirm that I have read this notice.
                                                                                                                                                                                                                      Case Number




                                                                     November 1, 2004                   /s/ JONATHAN PAUL MARONEY                                               /s/ TONYA MARONEY
                                                                     Date                               JONATHAN PAUL MARONEY                                          Debtor   TONYA MARONEY                                       Joint Debtor, if any


                                                                     INSTRUCTIONS: If the debtor is an individual, a copy of this notice personally signed by the debtor must accompany any bankruptcy petition filed with the Clerk. If filed
                                                                     by joint debtors, the notice must be personally signed by each. Failure to comply may result in the petition not being accepted for filing.


                                                                     NOTICE TO INDIVIDUAL CONSUMER DEBTOR
